     ORIGINAL
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 4
     Attorney for Defendant
 5   DENNIS MOORE

 6

 7                         United States District Court

 8                        Eastern District of California

 9   UNITED STATES OF AMERICA,   )       CR No. 09-00066-GEB
                                 )
10             Plaintiff,        )       STIPULATION AND [PROPOSED] ORDER
                                 )       CONTINUING STATUS HEARING ON
11               v.              )       JUDGMENT AND SENTENCE
                                 )
12   DENNIS MOORE,               )
                                 )
13             Defendant.        )
                                 )
14   ____________________________)
15                STIPULATION AND [PROPOSED] ORDER CONTINUING
                    STATUS HEARING ON JUDGMENT AND SENTENCE
16

17        It is hereby stipulated by and between the United States of
18   America through its attorneys, and defendant Dennis Moore and his
19   attorney of record, that the status hearing on Judgment and Sentence
20   for defendant Moore, currently set for Friday, November 9, 2012, be
21   vacated and continued to Friday, December 14, 2012.
22

23   DATED: October 25, 2012                  /s/ Anne C. Beles_____________
                                             ANNE C. BELES
24                                           Attorney for DENNIS MOORE

25
     DATED: October 25, 2012                  /s/ Anne C. Beles for_________
26                                           PHILIP A. FERRARI
                                             Assistant U.S. Attorney
27
                                             BENJAMIN B. WAGNER
28                                           United States Attorney

                                       1
                  Stipulation and [Proposed] Order Continuing
                    Status Hearing on Judgment and Sentence
     ORIGINAL
      Case 2:09-cr-00066-GEB Document 177 Filed 10/31/12 Page 2 of 2          ORIGINAL

 1   IT IS SO ORDERED.

 2   Date:                 10/30/2012

 3                                                ___________________________________
                                                  GARLAND E. BURRELL, JR.
 4                                                Senior United States District Judge
 5   DEAC_Signature-END:




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                                Stipulation and [Proposed] Order Continuing
                                  Status Hearing on Judgment and Sentence
